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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                            17 CR. 92 (RMB)
        -against-
                                                                            ORDER
PAUL VIDES,
                           Defendant.
-------------------------------------------------------------X

        The telephone status conference previously scheduled for Monday, October 19, 2020 at
9:30 AM is hereby rescheduled to 10:30 AM on the same date.

        Participants, members of the public and the press can use the following dial-in
information:


        USA Toll-Free Number: (877) 336-1829
        Access Code: 6265989
        Security Code: 1792


Dated: October 16, 2020
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
